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                               209 NYC Dental LLP
209 E 56th Street
New York, NY 10022
Phone: 212-355-2290
Fax: 646-430-8177

Date: 01/19/2025

                                   Payment Receipt
                           Patient:         Daniel Dadoun
                           Staff:           Melanie L
                           Card:            Visa
                           Terminal ID:     XXXXXXXXXXXXXXX
                           Trans ID:        000000019975
                           Order ID:        38812502231431296581
                           Batch ID:        000617
                           Trans Type:      Purchase
                           Date:            2025-01-19 13:4117
                           Card Number: XXXXXXXXXXXX8718
                           Entry Legend: CHIP READ
                           Entry Method: CONTACTLESS
                           Approved Code: 113338
                           AC:              DD6AC424C68C2605
                           ATC:             0030
                           AID:             A0000000031010
                           TVR:             0000000000
                           Res CD:          00
                           TRN REF #:       305054704185357
                           VAL CODE:        N87H
                           Total Amount: USD$291.00
                           Approved - Thank You
